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15   Attorneys for Plaintiff and Counter-defendant
     Epic Games, Inc.
16
17
18                             UNITED STATES DISTRICT COURT
19                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
20                                      OAKLAND DIVISION
21
      EPIC GAMES, INC.,                    )         Case No. 4:20-cv-05640-YGR-TSH
22                                         )
             Plaintiff, Counter-defendant, )         PLAINTIFF EPIC GAMES, INC.’S
23                                         )         SUPPLEMENTAL LIST OF SUMMARY
24                  v.                     )         EXHIBITS
                                           )
25    APPLE INC.,                          )         The Honorable Yvonne Gonzalez Rogers
                                           )
26
              Defendant, Counterclaimant. )
27                                         )

28

       PLAINTIFF EPIC GAMES, INC.’S SUPPLEMENTAL LIST OF SUMMARY EXHIBITS
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 1           Pursuant to the Court’s Standing Order Re: Pretrial Instructions in Civil Cases and the
 2   Court’s Order Regarding Pretrial Schedule (Dkt. 377), Plaintiff and Counter-defendant Epic
 3   Games, Inc. (“Epic”), by and through its undersigned counsel, hereby submits its supplemental
 4   exhibit list regarding summary exhibits pursuant to Federal Rule of Evidence 1006. Plaintiff
 5
     submits its summary exhibits using PX-1000 to PX-1093 and its responsive summary exhibits
 6
     using PX-2944 to PX-2946. The parties are continuing to meet and confer regarding the
 7
     admissibility of exhibits.
 8
 9                                        EPIC’S EXHIBIT LIST
10
       Ex.             Description             Sponsoring     Stipulation Objections   Date
11     No.                                      Witness        to Admit              Admitted

12    PX-     Estimate of Apple App Store     Barnes                        FRE 403;
      1000    Operating Margin                                              FRE 702;
13            Percentage - Epic Summary                                     FRE 703
14            Pursuant to Federal Rule of
              Evidence 1006
15    PX-     Apple FY2018 10-K               Barnes                        Does not
      1001    Reconciliation - Epic                                         comport
16            Summary Pursuant to                                           with FRE
17            Federal Rule of Evidence                                      1006
              1006
18    PX-     eBay Inc. Consolidated          Barnes                        FRE 402;
      1002    Statement of Income - Epic                                    FRE 802
19
              Summary Pursuant to
20            Federal Rule of Evidence
              1006
21    PX-     Estimated Allocation of         Barnes                        Does not
22    1003    Additional OPEX to App                                        comport
              Store - Epic Summary                                          with FRE
23            Pursuant to Federal Rule of                                   1006;
              Evidence 1006                                                 FRE 403;
24                                                                          FRE 702;
25                                                                          FRE 703
      PX-     Etsy, Inc. Consolidated         Barnes                        FRE 402;
26    1004    Statement of Operations -                                     FRE 802
              Epic Summary Pursuant to
27            Federal Rule of Evidence
28            1006


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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
     PX-    MercadoLibre, Inc.             Barnes                  FRE 402;
 3   1005   Consolidated Statements of                             FRE 802
            Income - Epic Summary
 4          Pursuant to Federal Rule of
 5          Evidence 1006
     PX-    Operating Margin               Barnes                  FRE 402;
 6   1006   Percentages for Select Pure                            FRE 802
            Online Marketplaces - Epic
 7          Summary Pursuant to
 8          Federal Rule of Evidence
            1006
 9   PX-    Rakuten, Inc. Income from      Barnes                  FRE 402;
     1007   Operations Internet Services                           FRE 802
10          Segment - Epic Summary
11          Pursuant to Federal Rule of
            Evidence 1006
12   PX-    Alibaba Group Income from      Barnes                  FRE 402;
     1008   Operations Core Commerce                               FRE 802
13
            Segment - Epic Summary
14          Pursuant to Federal Rule of
            Evidence 1006
15   PX-    Figure 6: Fortnite Monthly     Cragg                   FRE 602
16   1009   Active Users by Platforms
            Played On Per Month - Epic
17          Summary Pursuant to
            Federal Rule of Evidence
18          1006
19   PX-    Figure 7: Fortnite Monthly     Cragg                   FRE 602
     1010   Active Users by Platform -
20          Epic Summary Pursuant to
            Federal Rule of Evidence
21          1006
22   PX-    Figure 8: Cross- Platform      Cragg                   FRE 602
     1011   Weekly Active Users for
23          Fortnite Players on Switch -
            Epic Summary Pursuant to
24
            Federal Rule of Evidence
25          1006
     PX-    Figure 9: Average Quarterly    Cragg                   FRE 602;
26   1012   App Downloads per Active                               FRE 802;
            iOS Device, 2016-2020 -                                FRE 805
27
            Epic Summary Pursuant to
28

       PLAINTIFF EPIC GAMES, INC.’S SUPPLEMENTAL LIST OF SUMMARY EXHIBITS
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     Ex.            Description           Sponsoring   Stipulation Objections   Date
 1   No.                                   Witness      to Admit              Admitted
 2
            Federal Rule of Evidence
 3          1006

 4   PX-    Figure 10: Distribution of    Cragg
     1013   iOS App Downloads for
 5
            U.S. Users, 2018 - Epic
 6          Summary Pursuant to
            Federal Rule of Evidence
 7          1006
 8   PX-    Figure 11: App Store's EBIT   Cragg                   Does not
     1014   Margin Versus Benchmark                               comport
 9          Companies - Epic Summary                              with FRE
            Pursuant to Federal Rule of                           1006;
10          Evidence 1006                                         FRE 402;
11                                                                FRE 403;
                                                                  FRE 602;
12                                                                FRE 702;
                                                                  FRE 703;
13                                                                FRE 802;
14                                                                FRE 805
     PX-    Figure 12: Apple App Store's Cragg                    Does not
15   1015   CAGR and EBIT Margin                                  comport
            Versus Benchmarks - Epic                              with FRE
16          Summary Pursuant to                                   1006;
17          Federal Rule of Evidence                              FRE 402;
            1006                                                  FRE 403;
18                                                                FRE 602;
                                                                  FRE 702;
19
                                                                  FRE 703;
20                                                                FRE 802;
                                                                  FRE 805
21   PX-    Figure 13: Persistence in     Cragg                   Does not
22   1016   EBIT Profit Margins - Epic                            comport
            Summary Pursuant to                                   with FRE
23          Federal Rule of Evidence                              1006;
            1006                                                  FRE 402;
24                                                                FRE 403;
25                                                                FRE 602;
                                                                  FRE 702;
26                                                                FRE 703;
                                                                  FRE 802;
27                                                                FRE 805
28

       PLAINTIFF EPIC GAMES, INC.’S SUPPLEMENTAL LIST OF SUMMARY EXHIBITS
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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
     PX-    Figure 14: Commission          Cragg                   Does not
 3   1017   Rates on All App Store                                 comport
            Transactions, Including                                with FRE
 4          Sponsored Ads - Epic                                   1006;
 5          Summary Pursuant to                                    FRE 702;
            Federal Rule of Evidence                               FRE 703
 6          1006
     PX-    Figure 15: Commission          Cragg                   Does not
 7   1018   Rates on App Store Initial                             comport
 8          Downloads, Including                                   with FRE
            Sponsored Ads - Epic                                   1006;
 9          Summary Pursuant to                                    FRE 702;
            Federal Rule of Evidence                               FRE 703
10          1006
11   PX-    Figure 16: Top 10 App Store    Cragg                   FRE 602;
     1019   Apps for Keyword Query                                 FRE 802
12          "Dropbox," January 2017 -
            December 2018 - Epic
13
            Summary Pursuant to
14          Federal Rule of Evidence
            1006
15   PX-    Figure 17: Top 10 App Store    Cragg                   FRE 602;
     1020   Apps for Keyword Query                                 FRE 802
16
            "Onedrive," January 2017 –
17          December 2018 - Epic
            Summary Pursuant to
18          Federal Rule of Evidence
19          1006
     PX-    Table 1: U.S. Installed Base   Cragg                   FRE 602;
20   1021   for iOS and Nintendo                                   FRE 802;
            Switch, 2019 - Epic                                    FRE 805;
21          Summary Pursuant to                                    Does not
22          Federal Rule of Evidence                               comport
            1006                                                   with FRE
23                                                                 1006
     PX-    Figure 1: Fortnite Minutes     Cragg
24   1022   Played by Platform Users
25          who Played on Both iOS &
            Switch in June 2018 - Epic
26          Summary Pursuant to
            Federal Rule of Evidence
27
            1006
28

       PLAINTIFF EPIC GAMES, INC.’S SUPPLEMENTAL LIST OF SUMMARY EXHIBITS
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     Ex.            Description             Sponsoring   Stipulation Objections   Date
 1   No.                                     Witness      to Admit              Admitted
 2
     PX-    Figure 2: Fortnite Minutes      Cragg
 3   1023   Played by Platform Users
            who Played on Both iOS &
 4          Switch in June 2018 - Epic
 5          Summary Pursuant to
            Federal Rule of Evidence
 6          1006
     PX-    Table 3: Statistical Test For   Cragg                   Does not
 7   1024   A Change In Fortnite Play                               comport
 8          Time Associated With A                                  with FRE
            Second Game Playing                                     1006;
 9          Platform - Epic Summary                                 FRE 602
            Pursuant to Federal Rule of
10          Evidence 1006
11   PX-    Figure 4: 2020 US Video         Cragg                   Does not
     1025   Game Revenue Breakdown                                  comport
12          and Total - Epic Summary                                with FRE
            Pursuant to Federal Rule of                             1006;
13
            Evidence 1006                                           FRE 602;
14                                                                  FRE 802
     PX-    Figure 5: Relative Popularity   Cragg                   Does not
15   1026   of Video Game Genres and                                comport
            Categories Played on                                    with FRE
16
            Different Platforms - Epic                              1006;
17          Summary Pursuant to                                     FRE 602;
            Federal Rule of Evidence                                FRE 802;
18          1006                                                    FRE 805
19   PX-    Table 4: Statistical Test For   Cragg                   Does not
     1027   Complementary And                                       comport
20          Substitute Game Playing                                 with FRE
            Platforms Among Fortnite                                1006;
21          Users - Epic Summary                                    FRE 702;
22          Pursuant to Federal Rule of                             FRE 703;
            Evidence 1006                                           FRE 602
23   PX-    Table 5: Summary of Hitt        Cragg                   Does not
     1028   Exhibits 11, 9 and 12                                   comport
24          (Millions of Users) - Epic                              with FRE
25          Summary Pursuant to                                     1006
            Federal Rule of Evidence
26          1006
     PX-    Table 6: Hardware               Cragg                   FRE 602;
27
     1029   Components of Mobile and                                FRE 802
28          Non-Mobile Devices - Epic

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     Ex.            Description             Sponsoring   Stipulation Objections   Date
 1   No.                                     Witness      to Admit              Admitted
 2
            Summary Pursuant to
 3          Federal Rule of Evidence
            1006
 4   PX-    Table 7: Popular Games by       Cragg                   FRE 602;
 5   1030   Platform - Epic Summary                                 FRE 802;
            Pursuant to Federal Rule of                             FRE 805
 6          Evidence 1006
     PX-    Table 8: Comparison of          Cragg                   FRE 602;
 7   1031   Major Video                                             FRE 802;
 8          Game Platforms - Epic                                   FRE 805
            Summary Pursuant to
 9          Federal Rule of Evidence
            1006
10
     PX-    Table 9: Development Costs      Cragg                   FRE 602;
11   1032   for Mobile and Non-Mobile                               FRE 802;
            Games - Epic Summary                                    FRE 805
12          Pursuant to Federal Rule of
            Evidence 1006
13
     PX-    Table 10: Top PC Games          Cragg                   FRE 602;
14   1033   with Mobile Cross-Play,                                 FRE 802;
            February 2021 - Epic                                    FRE 805
15          Summary Pursuant to
16          Federal Rule of Evidence
            1006
17   PX-    Table 11: Percent of Fortnite   Cragg                   FRE 602
     1034   Players Who Have Played on
18          Each Platform - Epic
19          Summary Pursuant to
            Federal Rule of Evidence
20          1006
     PX-    Table 12: Percent of Fortnite   Cragg                   FRE 602
21   1035   Players Who Have Played on
22          Multiple Platforms - Epic
            Summary Pursuant to
23          Federal Rule of Evidence
            1006
24
     PX-    Table 13: Top 10 Highest        Cragg
25   1036   Grossing iOS Apps as a
            Percent of Total App
26          Revenues, Fiscal Year 2019
            - Epic Summary Pursuant to
27
            Federal Rule of Evidence
28          1006

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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
     PX-    Table 14: Top 10 iOS App       Cragg
 3   1037   Downloads as a Percent of
            All App Downloads, 2019 -
 4          Epic Summary Pursuant to
 5          Federal Rule of Evidence
            1006
 6   PX-    Table 15: Apple App Store      Cragg                   FRE 602;
     1038   Financial Performance                                  FRE 702;
 7          (2013-2020) - Epic                                     FRE 703
 8          Summary Pursuant to
            Federal Rule of Evidence
 9          1006
     PX-    Table 16: Effect of Adding a   Cragg                   Does not
10   1039   Second Platform On Original                            comport
11          Platform Play Time (Log-                               with FRE
            Hours per Week) - Epic                                 1006;
12          Summary Pursuant to                                    FRE 602;
            Federal Rule of Evidence                               FRE 702;
13
            1006                                                   FRE 703
14   PX-    Table 17: Effect of Adding a   Cragg                   Does not
     1040   Second Platform on Total                               comport
15          Play Time (Log-Hours                                   with FRE
            per Week) - Epic Summary                               1006;
16
            Pursuant to Federal Rule of                            FRE 602;
17          Evidence 1006                                          FRE 702;
                                                                   FRE 703
18   PX-    Table 18: Mobile Video         Cragg                   Does not
19   1041   Games Genres - Epic                                    comport
            Summary Pursuant to                                    with FRE
20          Federal Rule of Evidence                               1006;
            1006                                                   FRE 602;
21                                                                 FRE 702;
22                                                                 FRE 703;
                                                                   FRE 802;
23                                                                 FRE 805
     PX-    Table 19: PC/Console Video     Cragg                   Does not
24   1042   Games Genres - Epic                                    comport
25          Summary Pursuant to                                    with FRE
            Federal Rule of Evidence                               1006;
26          1006                                                   FRE 602;
                                                                   FRE 702;
27
                                                                   FRE 703;
28

       PLAINTIFF EPIC GAMES, INC.’S SUPPLEMENTAL LIST OF SUMMARY EXHIBITS
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     Ex.            Description           Sponsoring   Stipulation Objections   Date
 1   No.                                   Witness      to Admit              Admitted
 2
                                                                  FRE 802;
 3                                                                FRE 805

 4   PX-    Table 20: Game Genres and     Cragg                   Does not
     1043   Categories Played Across                              comport
 5
            Platforms - Epic Summary                              with FRE
 6          Pursuant to Federal Rule of                           1006;
            Evidence 1006                                         FRE 602;
 7                                                                FRE 802;
                                                                  FRE 805
 8
     PX-    Table 21: App Store           Cragg                   FRE 402;
 9   1044   Comparable Companies -                                FRE 403;
            Epic Summary Pursuant to                              FRE 602;
10          Federal Rule of Evidence                              FRE 802;
11          1006                                                  FRE 805
     PX-    Table 2: Summary Statistics   Cragg                   FRE 602
12   1045   of US Fortnite Players By
            Platform - Epic Summary
13          Pursuant to Federal Rule of
14          Evidence 1006
     PX-    Analysis of Fortnite User     Evans                   Does not
15   1046   Time Usage Behavior                                   comport
            Following the Launch of                               with FRE
16
            Fortnite on Switch - Epic                             1006;
17          Summary Pursuant to                                   FRE 602;
            Federal Rule of Evidence                              FRE 702;
18          1006                                                  FRE 703;
                                                                  FRE 802
19
     PX-    App Store Apps, Total Apple Evans                     FRE 702;
20   1047   Commissions, and Estimated                            FRE 703;
            Purchase Volume - Epic                                FRE 802
21          Summary Pursuant to
22          Federal Rule of Evidence
            1006
23   PX-    App Store Operating Margin Evans                      Does not
     1048   - Epic Summary Pursuant to                            comport
24          Federal Rule of Evidence                              with FRE
25          1006                                                  1006;
                                                                  FRE 602;
26                                                                FRE 802
     PX-    Apple App Store P&L,          Evans                   Does not
27
     1049   2013-2020 - Epic Summary                              comport
28

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     Ex.            Description             Sponsoring   Stipulation Objections   Date
 1   No.                                     Witness      to Admit              Admitted
 2
            Pursuant to Federal Rule of                             with FRE
 3          Evidence 1006                                           1006

 4   PX-    Apple Average U.S.              Evans                   FRE 702;
     1050   Effective Commission Rate -                             FRE 703;
 5
            Epic Summary Pursuant to                                FRE 802
 6          Federal Rule of Evidence
            1006
 7   PX-    Change in iOS Fortnite          Evans                   FRE 602;
 8   1051   Users Gameplay Time After                               FRE 702;
            Developer Account                                       FRE 703;
 9          Termination - Epic Summary                              FRE 802
            Pursuant to Federal Rule of
10          Evidence 1006
11   PX-    Change in iOS Fortnite          Evans                   FRE 602;
     1052   Users Monetary Spending                                 FRE 702;
12          After Developer Account                                 FRE 703;
            Termination - Epic Summary                              FRE 802
13          Pursuant to Federal Rule of
14          Evidence 1006
     PX-    Feature Phones and              Evans                   FRE 602;
15   1053   Smartphones Share of                                    FRE 802
            Mobile Phone Units Sold,
16
            High Income Countries -
17          Epic Summary Pursuant to
            Federal Rule of Evidence
18          1006
     PX-    Fortnite Users Play All or      Evans                   FRE 602;
19
     1054   Nearly All of their Game                                FRE 702;
20          Minutes on a Single                                     FRE 703;
            Platform - Epic Summary                                 FRE 802
21          Pursuant to Federal Rule of
22          Evidence 1006
     PX-    IDC Data Summary                Evans                   FRE 106;
23   1055   Statistics - Epic Summary                               FRE 602;
            Pursuant to Federal Rule of                             FRE 802
24          Evidence 1006
25   PX-    Implied Average Price           Evans                   Does not
     1056   Increase Caused by Apples                               comport
26          IAP Requirement for Online                              with FRE
            In-App Transactions at                                  1006;
27
            Alternative Diversion Rates -                           FRE 702;
28          Epic Summary Pursuant to                                FRE 703

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     Ex.            Description          Sponsoring   Stipulation Objections   Date
 1   No.                                  Witness      to Admit              Admitted
 2
            Federal Rule of Evidence
 3          1006

 4
 5   PX-    iOS and Android Share of     Evans                   FRE 702;
 6   1057   Smartphone App Revenue                               FRE 703;
            for the App Store and                                FRE 802
 7          Google Play - Epic
            Summary Pursuant to
 8
            Federal Rule of Evidence
 9          1006
     PX-    iOS and Android Share of     Evans                   FRE 602;
10   1058   Smartphone Revenue                                   FRE 802
            Summarized by Countries
11
            Level of Economic
12          Development, Globally
            Excluding China - Epic
13          Summary Pursuant to
14          Federal Rule of Evidence
            1006
15   PX-    iOS and Android Share of     Evans                   FRE 602;
     1059   Smartphone Revenue,                                  FRE 802
16          Globally Excluding China -
17          Epic Summary Pursuant to
            Federal Rule of Evidence
18          1006
     PX-    iOS Share of Smartphone      Evans                   FRE 602;
19   1060   Revenue for Smartphones                              FRE 802
20          Priced $300 or More,
            Globally Excluding China -
21          Epic Summary Pursuant to
            Federal Rule of Evidence
22
            1006
23   PX-    iOS Share of Smartphone      Evans                   FRE 602;
     1061   Sales for Smartphones                                FRE 802
24          Priced $300 or More - Epic
            Summary Pursuant to
25
            Federal Rule of Evidence
26          1006
     PX-    iOS Share of Smartphone      Evans                   FRE 602;
27   1062   Sales, Globally Excluding                            FRE 802
28          China - Epic Summary

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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
            Pursuant to Federal Rule of
 3          Evidence 1006

 4   PX-    iOS Share of Smartphone        Evans                   FRE 602;
     1063   Sales - Epic Summary                                   FRE 802
 5
            Pursuant to Federal Rule of
 6          Evidence 1006
     PX-    iPhone's Share From 2010 to    Evans                   FRE 602;
 7   1064   2019 in Different Regions -                            FRE 802
 8          Epic Summary Pursuant to
            Federal Rule of Evidence
 9          1006
     PX-    Analysis of Fortnite User      Evans                   FRE 602;
10   1065   Purchase Behavior                                      FRE 702;
11          Following the Launch of                                FRE 703;
            Fortnite on Switch - Epic                              FRE 802
12          Summary Pursuant to
            Federal Rule of Evidence
13          1006
14   PX-    Operating Margin (Percent)     Evans                   FRE 702;
     1066   for Online Marketplaces,                               FRE 703;
15          2013-2019 - Epic Summary                               FRE 802
            Pursuant to Federal Rule of
16
            Evidence 1006
17   PX-    Operating Systems Share of     Evans                   FRE 602;
     1067   Smartphone Revenue,                                    FRE 802
18          Globally Excluding China -
            Epic Summary Pursuant to
19
            Federal Rule of Evidence
20          1006
     PX-    Percent of iOS and Android     Evans                   FRE 602;
21   1068   Unit Sales Accounted for by                            FRE 802
22          Handsets in Different Price
            Ranges During 2019,
23          Globally Excluding China -
            Epic Summary Pursuant to
24          Federal Rule of Evidence
25          1006
     PX-    Percentage of the Top 50       Evans                   Does not
26   1069   iOS Game Apps in Hitt's                                comport
            Exhibit 2 That Are Currently                           with FRE
27
            Available on Gaming                                    1006;
28          Console Platforms - Epic

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     Ex.            Description           Sponsoring   Stipulation Objections   Date
 1   No.                                   Witness      to Admit              Admitted
 2
            Summary Pursuant to                                   FRE 702;
 3          Federal Rule of Evidence                              FRE 703
            1006
 4
     PX-    Proportion of Internet -      Evans                   Does not
 5
     1070   Using Adults That Own a                               comport
 6          Smartphone, Spring 2018 -                             with FRE
            Epic Summary Pursuant to                              1006
 7          Federal Rule of Evidence
            1006
 8
     PX-    Proportion of iPhone Buyers   Evans                   FRE 602;
 9   1071   During Apples 2020 FQ4                                FRE 802
            that Own and Use Other
10          Apple Products - Epic
11          Summary Pursuant to
            Federal Rule of Evidence
12          1006
     PX-    Proportion of iPhone Owners   Evans                   FRE 602;
13   1072   During Apples 2020 FQ1                                FRE 802
14          that Use Apple Services -
            Epic Summary Pursuant to
15          Federal Rule of Evidence
            1006
16   PX-    Proportion of iPhone Owners   Evans                   FRE 602;
17   1073   During Apples 2020 FQ4                                FRE 802
            that Own and Use Other
18          Apple Products - Epic
            Summary Pursuant to
19
            Federal Rule of Evidence
20          1006
     PX-    Proportion of Mobile          Evans                   Does not
21   1074   Internet Time Spent on Apps                           comport
            vs. Web Browsers, June                                with FRE
22
            2019 - Epic Summary                                   1006;
23          Pursuant to Federal Rule of                           FRE 602;
            Evidence 1006                                         FRE 802
24   PX-    Proportion of Online Time     Evans                   Does not
25   1075   Spent Using Mobile                                    comport
            Devices, June 2019 - Epic                             with FRE
26          Summary Pursuant to                                   1006;
            Federal Rule of Evidence                              FRE 602;
27          1006                                                  FRE 802
28

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     Ex.            Description           Sponsoring   Stipulation Objections   Date
 1   No.                                   Witness      to Admit              Admitted
 2
     PX-    Proportion of Worldwide     Evans                     Does not
 3   1076   Internet Users Who Access                             comport
            App Categories Using                                  with FRE
 4          Mobile Devices Only - Epic                            1006;
 5          Summary Pursuant to                                   FRE 602;
            Federal Rule of Evidence                              FRE 802
 6          1006
     PX-    R&D as a Percentage of      Evans                     FRE 402;
 7   1077   Total Revenue Apple iTunes                            FRE 802
 8          and Other Online
            Marketplaces - Epic
 9          Summary Pursuant to
            Federal Rule of Evidence
10          1006
11   PX-    Response of IAP Spenders to Evans                     Does not
     1078   a 5 Percent Increase in IAP                           comport
12          Prices - Epic Summary                                 with FRE
            Pursuant to Federal Rule of                           1006;
13
            Evidence 1006                                         FRE 602;
14                                                                FRE 802;
                                                                  FRE 805
15   PX-    Results from Difference in    Evans                   Does not
     1079   Differences Econometric                               comport
16
            Study of Fortnite Monetary                            with FRE
17          Spending - Epic Summary                               1006;
            Pursuant to Federal Rule of                           FRE 602;
18          Evidence 1006                                         FRE 702;
19                                                                FRE 703;
                                                                  FRE 802
20   PX-    Results from Difference in    Evans                   Does not
     1080   Differences Econometric                               comport
21          Study of Fortnite Time                                with FRE
22          Usage - Epic Summary                                  1006;
            Pursuant to Federal Rule of                           FRE 602;
23          Evidence 1006                                         FRE 702;
                                                                  FRE 703;
24                                                                FRE 802
25   PX-    Selected Online               Evans                   Does not
     1081   Marketplaces - Epic                                   comport
26          Summary Pursuant to                                   with FRE
            Federal Rule of Evidence                              1006;
27
            1006                                                  FRE 402;
28                                                                FRE 602;

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     Ex.            Description           Sponsoring   Stipulation Objections   Date
 1   No.                                   Witness      to Admit              Admitted
 2
                                                                  FRE 702;
 3                                                                FRE 703;
                                                                  FRE 802;
 4                                                                FRE 805
 5   PX-    Summary of Fortnite Time     Evans                    FRE 602
     1082   Usage by Device, September
 6          12, 2017 - August 12, 2020 -
            Epic Summary Pursuant to
 7          Federal Rule of Evidence
 8          1006
     PX-    Top 1 Percent of iOS Apps    Evans                    FRE 802
 9   1083   and Top 50 iOS Apps Shares
            of Downloads and Revenue -
10          Epic Summary Pursuant to
11          Federal Rule of Evidence
            1006
12   PX-    Top Android App Stores in    Evans                    Does not
     1084   China - Epic Summary                                  comport
13
            Pursuant to Federal Rule of                           with FRE
14          Evidence 1006                                         1006;
                                                                  FRE 802
15   PX-    Statistics on IAP Spending    Rossi                   Does not
16   1085   in Survey and Apple                                   comport
            Transaction Data - Epic                               with FRE
17          Summary Pursuant to                                   1006;
            Federal Rule of Evidence                              FRE 802;
18          1006                                                  FRE 805
19   PX-    Gender and Age                Rossi                   Does not
     1086   Distribution of Initial                               comport
20          Sample vs U.S. Census -                               with FRE
            Epic Summary Pursuant to                              1006;
21          Federal Rule of Evidence                              FRE 802;
22          1006                                                  FRE 805
     PX-    Geographic Distribution of    Rossi                   Does not
23   1087   Initial Sample vs U.S.                                comport
            Census - Epic Summary                                 with FRE
24
            Pursuant to Federal Rule of                           1006;
25          Evidence 1006                                         FRE 802;
                                                                  FRE 805
26   PX-    Summary of Survey             Rossi                   Does not
     1088   Results - Epic Summary                                comport
27
            Pursuant to Federal Rule of                           with FRE
28          Evidence 1006                                         1006;

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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
                                                                   FRE 802;
 3                                                                 FRE 805
     PX-    Switching Behavior - Epic      Rossi                   Does not
 4   1089   Summary Pursuant to                                    comport
 5          Federal Rule of Evidence                               with FRE
            1006                                                   1006;
 6                                                                 FRE 802;
                                                                   FRE 805
 7   PX-    Summary of Initial Spending    Rossi                   Does not
 8   1090   and Reduction - Epic                                   comport
            Summary Pursuant to                                    with FRE
 9          Federal Rule of Evidence                               1006;
            1006                                                   FRE 802;
10                                                                 FRE 805
11   PX-    Distribution of iPhone         Rossi                   Does not
     1091   Models - Epic Summary                                  comport
12          Pursuant to Federal Rule of                            with FRE
            Evidence 1006                                          1006;
13
                                                                   FRE 802;
14                                                                 FRE 805
     PX-    Education Distribution of      Rossi                   Does not
15   1092   Initial Sample vs U.S.                                 comport
16          Census - Epic Summary                                  with FRE
            Pursuant to Federal Rule of                            1006;
17          Evidence 1006                                          FRE 802;
                                                                   FRE 805
18   PX-    Figure 3: Global Revenue       Cragg                   Does not
19   1093   for Mobile, PC, and Console                            comport
            Game Playing, 2020 - Epic                              with FRE
20          Summary Pursuant to                                    1006;
            Federal Rule of Evidence                               FRE 602;
21          1006                                                   FRE 702;
22                                                                 FRE 703;
                                                                   FRE 802
23   PX-    Total Worldwide Fortnite       Cragg                   FRE 602;
     2944   iOS Time Played, by User                               FRE 703
24
            Accounts that Accessed                                 (Expert
25          Fortnite on an iOS device in                           analyses
            June 2018 - Epic Summary                               not
26          Pursuant to Federal Rule of                            disclosed
            Evidence 1006                                          during
27
                                                                   discovery);
28                                                                 FRE 802

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     Ex.            Description            Sponsoring   Stipulation Objections   Date
 1   No.                                    Witness      to Admit              Admitted
 2
     PX-    Total Worldwide Fortnite       Cragg                   FRE 602;
 3   2945   iOS Time Played, by User                               FRE 703
            Accounts that Accessed                                 (Expert
 4          Fortnite on an iOS device in                           analyses
 5          June 2018 - Epic Summary                               not
            Pursuant to Federal Rule of                            disclosed
 6          Evidence 1006                                          during
                                                                   discovery);
 7                                                                 FRE 802
 8   PX-    Total Worldwide Fortnite       Cragg                   FRE 703
     2946   iOS Time Played, by User                               (Expert
 9          Accounts that Accessed                                 analyses
            Fortnite on an iOS device in                           not
10          June 2018 - Epic Summary                               disclosed
11          Pursuant to Federal Rule of                            during
            Evidence 1006                                          discovery)
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